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IN THE UNITED STATES DlSTRICT COURT L
FOR THE WESTERN DISTRICT OF TENNESSEE 333 fj;;, g g , ;.

EASTERN DIVISION

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ZACHARY ROBBINS, a minor, by and

through his parents, YVONNE ROBBINS

and DANNY ROBBINS, Individually,
Plaintiffs,

vs. No. 04-]294-JDT-tmp

SUSAN WALLACE, Individually, and

HENDERSON COUNTY BOARD OF

EDUCATION,

Defendants.

 

RULE 16(b) sCHEDULING 0RDER

 

Pursuant to the scheduling conference set by Written notice, the following dates were
established as the final dates for:

MOTIONS TO AMEND PLEADINGS AND JOIN PARTIES:

for Plaintiff: August 31, 2005
for Defendant: September 30, 2005
DISCOVERY:

(a) REQUESTS FOR PRODUCTION, lNTERROGATORlES AND
REQUESTS FOR ADMISSIONS: January 31, 2006
(i) Each party is limited to thirty (30) interrogatories

(b) EXPERT DISCLOSURE (Rule 26(3)(2));
(i) Plaintiff’s Experts: January 15, 2006

(ii) Defendant’s EXpertS: February 15, 2006
(iii) Plaintiffs Rebuttal Experts March 3, 2006

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(c) DEPOSITIONS: l\/Iay 19, 2006
(i) Maximum of fifty (50) depositions by each party
(ii) Each deposition is limited to a maximum of two (2) seven (7) hour
days

(d) SUPPLEMENTAT].ON: Supplementation under Rule 26(e) due as required
by the Federal Rules of Civil Procedure but no less than sixty (60) days
before the date of trial without leave of court or by agreement of the parties

FlLING DlSPOSITl\/E MOTIONS: June l2, 2006
FINAL LlSTS OF WITNESSES AND EXH[BITS (Rule 26(a)(3)):

(a) for Plaintiff: August l l, 2006
(b) for Defendant: August 28, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to flle
objections under Rule 26(a)(3).

The trial of this matter is expected to last 10 to 15 days and is SET for JURY TRIAL
beginning September ll, 2006 at 9:30 a.m. Ajoint pretrial order is due on August 28, 2006. ln the
event the parties are unable to agree on a joint pretrial order, the parties must notify the court at least
ten days before trial. A pretrial conference may be scheduled upon request of the parties.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted to
the opposing party in sufficient time for the opposing party to respond by the deadline for completion
of discovery. For example, if the FED R. CIV. P. allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or service of the response, answer, or objection which is the subject of the
motion if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or any objection to the defau]t, response, or answer
shall be waived

The parties are reminded the pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all motions,
except motions pursuant to FED R. CIV. P. 12, 56, 59, and 60, shall be accompanied by a proposed
Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, without leave of the court. If a party believes that a reply is

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necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required.

At this time, the parties have not given consideration to whether they wish to consent to trial

before the magistrate judge. The parties will file a written consent form with the court should they
decide to proceed before the magistrate judge

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order will not be modified or extended.

lT lS SO ORDERED.

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

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APPROVED FOR ENTRY:

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 29 in
case 1:04-CV-01294 was distributed by fax, mail, or direct printing on
May 27, 2005 to the parties listed.

 

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Honorable .l ames Todd
US DlSTRICT COURT

